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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                         MEMORANDUM



                                                                              Date     7/25/17
Case No.     CV 16-2719 DSF (SKx)
Title     Graciela Herrera, et al. v. City of Los Angeles, et al.


Present:
                        DALE S. FISCHER, United States District Judge
The Honorable

                   Debra Plato                                         Not Present
                  Deputy Clerk                                       Court Reporter
         Attorneys Present for Plaintiffs                 Attorneys Present for Defendants
                   Not Present                                         Not Present

Proceedings:        (In Chambers) Order GRANTING IN PART and DENYING IN
                    PART Defendants’ Motion for Summary Judgment (Dkt. 60)


                                    I.      INTRODUCTION

       Defendant Alejandro Downey, an officer employed by Defendant City of Los
Angeles (City), shot and killed Ruben Herrera, the son of Plaintiffs Graciela Herrera and
Ruben Ordaz. First Am. Compl. (FAC) ¶¶ 3-4, 6. In their FAC, Plaintiffs bring section
1983 claims based on false arrest, excessive force, and violation of substantive due
process against Downey, a Monell claim against the City, and battery, negligence and
Bane Act claims against both Defendants.1 Defendants move for summary judgment on
Plaintiffs’ excessive force, substantive due process, Monell, battery, negligence, and
Bane Act claims.2 The Court deems this matter appropriate for decision without oral
argument. See Fed. R. Civ. P. 78; Local Rule 7-15.

1
  Plaintiffs bring their claims in their individual capacities and in their representative capacities
as successor-in-interest to their deceased son.
2
  Defendants assert Plaintiffs have agreed to dismiss their false arrest claim. Notice of Mot.
Plaintiffs do not dispute this assertion. Nor do they discuss this claim in their opposition.
Plaintiffs’ false arrest claim is dismissed.

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                               II.   LEGAL STANDARD

        “A party may move for summary judgment, identifying each claim or defense - or
the part of each claim or defense - on which summary judgment is sought. The court
shall grant summary judgment if the movant shows that there is no genuine dispute as to
any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
P. 56(a). “This burden is not a light one.” In re Oracle Corp. Sec. Litig., 627 F.3d 376,
387 (9th Cir. 2010). But the moving party need not disprove the opposing party’s case.
Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Rather, if the moving party satisfies
this burden, the party opposing the motion must set forth specific facts, through affidavits
or admissible discovery materials, showing that there exists a genuine issue for trial. Id.
at 323-24; Fed. R. Civ. P. 56(c)(1). A non-moving party who bears the burden of proof at
trial as to an element essential to its case must make a showing sufficient to establish a
genuine dispute of fact with respect to the existence of that element of the case or be
subject to summary judgment. See Celotex Corp., 477 U.S. at 322.

       The “mere existence of some alleged factual dispute between the parties will not
defeat an otherwise properly supported motion for summary judgment; the requirement is
that there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 247-48 (1986). An issue of fact is a genuine issue if it reasonably can be
resolved in favor of either party. Id. at 250-51. “[M]ere disagreement or the bald
assertion that a genuine issue of material fact exists” does not preclude summary
judgment. Harper v. Wallingford, 877 F.2d 728, 731 (9th Cir. 1989). “The mere
existence of a scintilla of evidence in support of the [non-movant’s] position will be
insufficient; there must be evidence on which the jury . . . could find by a preponderance
of the evidence that the [non-movant] is entitled to a verdict . . . .” Anderson, 477 U.S. at
252. “Only disputes over facts that might affect the outcome of the suit under the
governing law will properly preclude the entry of summary judgment.” Id. at 248.

       “[A] district court is not entitled to weigh the evidence and resolve disputed
underlying factual issues.” Chevron Corp. v. Pennzoil Co., 974 F.2d 1156, 1161 (9th Cir.
1992). “A district court’s ruling on a motion for summary judgment may only be based
on admissible evidence.” Oracle, 627 F.3d at 385. A party seeking to admit evidence
bears the burden of proof to show its admissibility. Id. Courts need not scour the record
to determine if evidence is admissible. Id. at 385-86. If an opposing party objects to the
admissibility of proffered evidence, the onus is on the proponent to direct the Court to the
documents and evidentiary principles that it claims make the evidence admissible. Id.

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                                          III.   FACTS3

       On the morning of December 19, 2015, Downey and Officer Adragna, who were
on patrol, received a call to assist an officer. Pls.’ Response to Defs.’ Undisputed Facts
(PRUF) 1. By the time they arrived on the scene, several officers had already arrived and
secured the area. Id. 3. Ruben Herrera was already handcuffed and under arrest. Id. 4.
Because a carotid restraint was used on Herrera4 during the arrest, he was taken to the
hospital to obtain medical clearance. Id. 8. For about five-and-a-half hours, Downey and
Adragna watched over Herrera during the medical evaluation. Id. 13. Except for during
a CT scan and restroom breaks, Herrera had both his hands cuffed to the gurney. Id. 15.
Herrera was cooperative during the medical evaluation, including the CT scan and
restroom breaks. Id. 20. Herrera was medically cleared for booking, and the officers
began uncuffing him for transport. Id. 21-23. The parties dispute what happened next.

       According to Defendants, once Adragna uncuffed Herrera, he got off the bed and
stood up, ignoring the officers’ instruction to get back on the bed. Defs.’ Undisputed
Facts (DUF) 26-28. He then picked up a metal stool and threw it at Downey, who was hit
on his left hand. Id. 29. The officers backed up and drew their tasers, ordering Herrera to
stop. Id. 30-31. When Herrera charged at Adragna, the officers hit him with their tasers
in dart mode. Id. 33. Herrera nevertheless tackled Adragna, who landed in the hallway
under him. Id. 34-35. The two of them grappled as the officers struggled to restrain
Herrera. Id. 35. Herrera was on Adragna’s legs and reaching for Adragna’s waist;
Adragna attempted to free his legs. Id. 36. Meanwhile, Downey fired his taser four times
at Herrera, who continued his assault. Id. 37. The officers got him face down on the
ground and tried to restrain his arms. Id. 38. Herrera was able to free himself and stand
up, even after Downey had kicked him in the head and stomped on his hand. Id. 39.

       After standing up, he again attacked the officers. Id. 40. The officers took Herrera
down to the ground again. Id. 41. From a supine position, Herrera kicked Adragna in the
chest, knocking the wind out of him and causing him to fall to the floor. Id. 42. Herrera
and Adragna continued grappling. Id. 43. Then, from a prone position and by the legs of
Adragna - who was on his back, Herrera attempted to grab Adragna’s gun; Adragna

3
  The following facts are undisputed unless otherwise indicated. The Court notes that both
counsel sometimes assert that a fact is undisputed, but fail to dispute the fact directly, contrary to
this Court’s standing order. Where this occurs, the Court deems the fact to be undisputed.
4
  All references to “Herrera” are to Ruben Herrera.

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evaded this attempt by turning and trying to scoot away. Id. 45-46, 48. Herrera then
came off Adragna’s lower legs, started to sit up, and turned and reached for Downey’s
gun belt. Id. 53. Downey moved his gun leg back and tried to push Herrera back down.
Id. 55. Downey drew his firearm; Herrera reached out and touched the barrel of the gun
after it was unholstered. Id. 57. Downey twice yelled “stop or I’ll shoot,” but Herrera
did not stop. Id. 58. Downey then fired one round, hitting Herrera in the back. Id. 59.
When the shot was fired, Herrera was not touching the gun, though he was grabbing at
Downey’s waistband. Id. 60-61.

       Plaintiffs submit testimony from third-party witnesses that supports a significantly
different sequence of events. Picking up from Herrera’s medical clearance, on being
released from his handcuffs, Herrera complied with the officers’ request to stand up and
face the wall. Pls.’ Additional Facts (PAF) 77. Herrera then tried to run out of the
hospital room, pushing officers Adragna and Downey out of his way. Id. 78. Before
exiting the room, Herrera was tased; he then fell face down onto the floor. Id. 78-79.
After he went to the ground, the officers got on top of him and tased him in the neck
multiple times. Id. 82. Although Herrera tried to get up, he never attempted to grab the
officers’ guns or waistbands. Id. 85. He never tackled or struck the officers and never
got back on his feet after going to the ground. Id. 86-87. Adragna got off Herrera and
stood a couple feet away from him moments before the shooting occurred. Id. 91.

       Downey drew his gun, pointed the tip of the gun at Herrera’s back, and fired -
without warning - from two-and-a-half feet away; Herrera was lying prone on the floor
using his hands and forearms to get up from the ground when the shot was fired. Id. 92-
95, 97. Plaintiffs’ evidence indicates that, at the time of the shooting, Downey was on his
feet over Herrera, who appeared to be trying to escape. See Opp., Valenzuela Decl., Ex.
M (Burbulys Dep.) at 89:8-11, 95: 1-6; id., Ex. X (Lim Statement) at 24:11-12; id., Ex.
A1 (Ahumada Statement) at 22:24-23:12 (Dkt. 79-27). Plaintiffs also submit evidence
showing (1) a lack of gunshot residue on Herrera’s hands and clothing indicating he was
at least several feet away from Downey when shot and (2) a “shored exit” bullet wound
consistent with Herrera being on the floor during the shooting. PRUF 59; PAF 93.

       It is undisputed that (1) Herrera never had weapons - or objects that looked like
weapons - in his hands, (2) Herrera never attempted to assault the medical staff, and (3)
Adragna never pulled his gun out of the holster. Id. 98, 100, 103. The parties dispute
whether - at the initial scene before Adragna and Downey arrived - Herrera attacked
officers and reached for their guns. PRUF 6-7. They also dispute whether Herrera was


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on methamphetamine and whether Adragna and Downey knew of Herrera’s bipolar
disorder. Id. 18-19.

                                     IV.    DISCUSSION

A.       Evidentiary Objections

       Defendants seek to exclude the third-party witness testimony and statements
submitted by Plaintiffs on the grounds of hearsay. Defs. Reply to PRUF. “At the
summary judgment stage, [the Court] does not focus on the admissibility of the
evidence’s form. [The Court] instead focus[es] on the admissibility of its contents.”
Fraser v. Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003). These witnesses could take the
stand at trial and recount what they saw and heard at the hospital. This evidence would
be relevant and admissible. Because the evidence could be presented in an admissible
form at trial, the Court may consider this evidence at the summary judgment stage. Id. at
1037 (citing Hughes v. United States, 953 F.2d 531, 543 (9th Cir.1992) (affidavit could
be considered on summary judgment despite hearsay and best evidence rule objections
because the facts underlying the affidavit were of the type that would be admissible
evidence, even though the affidavit itself might not be admissible); J.F. Feeser, Inc. v.
Serv-A-Portion, Inc., 909 F.2d 1524, 1542 (3d Cir. 1990) (hearsay evidence produced in
an affidavit may be considered if the out-of-court declarant could later present the
evidence through direct testimony)). Defendants’ objections are overruled.5

B.       Excessive Force

       In excessive force cases, the right at issue is the Fourth Amendment right against
unreasonable seizures. Tolan v. Cotton, 134 S. Ct. 1861, 1865 (2014). “[U]nlike in other
cases, the qualified immunity inquiry is the same as the inquiry made on the merits.”
Scott v. Henrich, 39 F.3d 912, 914-15 (9th Cir. 1994) (internal punctuation and citations
omitted).



5
  Some witnesses’ statements were not made under oath. Considering that these statements were
taken by police officers, the Court concludes that it can consider them. Even if the Court did not
consider them, its ruling would be the same. Defendants also object to statements in Plaintiffs’
expert’s declaration. Defs.’ Req. for Evidentiary Ruling on Specified Objs. Because the Court
does not rely on these statements, the Court declines to address these objections.

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       The court must balance “the nature and quality of the intrusion on the individual’s
Fourth Amendment interests against the importance of the governmental interests alleged
to justify the intrusion.” Tolan, 134 S. Ct. at 1865-66 (citing Tennessee v. Garner, 471
U.S. 1, 8 (1985)). “[P]roper application [of the test of reasonableness under the Fourth
Amendment] requires careful attention to the facts and circumstances of each particular
case, including the severity of the crime at issue, whether the suspect poses an immediate
threat to the safety of the officers or others, and whether he is actively resisting arrest or
attempting to evade arrest by flight.” Graham v. Connor, 490 U.S. 386, 396 (1989). The
most important Graham factor is “whether the suspect poses an immediate threat to the
safety of the officers or others.” Smith v. City of Hemet, 394 F.3d 689, 702 (9th Cir.
2005) (en banc).

       “[E]ven though reasonableness traditionally is a question of fact for the jury,
defendants can still win on summary judgment if the district court concludes, after
resolving all factual disputes in favor of the plaintiff, that the officer’s use of force was
objectively reasonable under the circumstances.” Scott, 39 F.3d at 915 (internal
punctuation and citations omitted). On the other hand, where the reasonableness of the
officer’s conduct turns on disputed issues of material fact, the question should be left for
the jury. Torres v. City of Madera, 648 F.3d 1119, 1123 (9th Cir. 2011).

       Reasonableness “must be judged from the perspective of a reasonable officer on
the scene, rather than with the 20/20 vision of hindsight” and includes “allowance for the
fact that police officers are often forced to make split-second judgments – in
circumstances that are tense, uncertain, and rapidly evolving.” Graham, 490 U.S. at 396-
397. Deadly force is not unreasonable, and therefore, not a violation of an individual’s
Fourth Amendment rights, when the “officer has probable cause to believe that the
suspect poses a threat of serious physical harm, either to the officer or to others.” Garner,
471 U.S. at 11.

       Defendants assert Downey is entitled to qualified immunity with respect to the
section 1983 claims. Qualified immunity is more than a mere defense at trial; it is “an
entitlement not to stand trial or face the other burdens of litigation.” Mitchell v. Forsyth,
472 U.S. 511, 526 (1985). Because the benefit of immunity is effectively lost if the case
erroneously goes to trial, the Supreme Court repeatedly has stressed the importance of
resolving immunity questions at the earliest possible stage of the litigation. Saucier v.
Katz, 533 U.S. 194, 200-01 (2001). At the summary judgment stage, courts engage in a
two-prong inquiry. Tolan, 134 S. Ct. at 1865. First, viewing the facts in the light most
favorable to the plaintiff, the court determines whether the officers’ conduct violated a

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federal right. Id. Second, the court determines whether the right was “clearly
established” at the time the violation occurred. Id. at 1866. The court may engage the
two prongs of the qualified immunity test in either order, but it must limit its examination
to undisputed facts. Id.

         1.   Violation of the Fourth Amendment

       Defendants contend that, based on the totality of the circumstances, it was
objectively reasonable for Downey to perceive that Herrera posed an imminent deadly
threat. Defendants argue Downey, who believed Herrera had tried to take a gun from an
officer at the initial scene,6 and his partner Adragna were repeatedly attacked by Herrera,
who failed to comply with officer commands and attempted to grab their weapons.
Defendants rely on Davenport v. Causey, 521 F.3d 544 (6th Cir. 2008) and Colston v.
Barnhart, 130 F.3d 96 (5th Cir. 1997). In Davenport, the Sixth Circuit found no Fourth
Amendment violation where a “large, violent, and angry” suspect had knocked an officer
to the ground and was pummeling his partner in the head when the officer shot him.
Davenport, 521 F.3d at 553-54. In Colston, the suspect, after having knocked down one
officer and rendering another officer unconscious, stood over the officers and started
walking toward a police vehicle containing a shotgun when he was shot. Colston, 130
F.3d at 98. The Fifth Circuit found reasonable the shooting officer’s belief that the
suspect would further assault him or obtain a weapon from the vehicle. Id. at 99-100.

        Here, Plaintiffs have presented evidence that Herrera had no weapons (and did not
try to take one from the officers), never tackled or struck the officers, and was trying to
get up from a facedown position when he was shot.7 Further, it is undisputed that he
never attacked hospital staff. This case, therefore, is unlike Davenport or Colston where
there was no such dispute of material fact. When viewing this evidence in the light most
favorable to Plaintiffs, a reasonable jury could disbelieve Downey’s version of events and

6
  Plaintiffs object to Downey’s testimony on hearsay and relevance grounds. The objections are
overruled. The testimony is not hearsay as it is offered to show Downey’s state of mind and it is
relevant to the objective reasonableness inquiry.
7
  The third-party witnesses, whose testimony Plaintiffs submit, did not attest merely that they do
not recall Herrera’s actions, as Defendants suggest, Reply at 3, but rather characterized - to the
best of their recollection - the events they personally witnessed. That witnesses relied on by
Defendants may have more comprehensive and reliable testimony than Plaintiffs’ witnesses
goes to the weight the jury may accord the evidence. Such arguments are irrelevant for this
motion.

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find Downey did not have cause to believe Herrera posed a threat of serious physical
harm to himself or anyone else. Because there is a triable issue as to the reasonableness
of Downey’s use of deadly force, the Court cannot conclude as a matter of law that
Downey did not violate the Fourth Amendment.

      2.     “Clearly Established Right”

        Defendants contend that even if Downey violated the Fourth Amendment, he is
still entitled to qualified immunity because the alleged right was not clearly established.
Defendants’ reliance on Davenport and Colston is misplaced for the same reasons
discussed above. The Supreme Court long ago made clear that an officer may not use
deadly force to apprehend a suspect where the suspect poses no immediate threat to the
officer or others. Garner, 471 U.S. at 11. It appears that, even accepting Plaintiffs’
version of events, Herrera was struggling to escape. But given the conflicting evidence, a
reasonable jury could conclude that Downey violated Herrera’s Fourth Amendment rights
by shooting him though he posed no significant threat to the officer or others. In that
case, the violation would be clearly established under the law set forth in Garner and
numerous other cases governing the use of deadly force to effect a seizure of a suspect.
Though it is arguably a close issue, the Court concludes that summary judgment on
qualified immunity as to Plaintiffs’ Fourth Amendment claim is not warranted.
Defendants’ motion as to Plaintiffs’ excessive force claim is denied.

C.    Substantive Due Process

       “[E]xisting Supreme Court and Ninth Circuit precedent establish that a parent has a
constitutionally protected liberty interest in the companionship and society of his or her
child. The state’s interference with that liberty interest without due process of law is
remediable under section 1983.” Kelson v. City of Springfield, 767 F.2d 651, 655 (9th
Cir. 1985). “[O]nly official conduct that ‘shocks the conscience’ is cognizable as a due
process violation.” Porter v. Osborn, 546 F.3d 1131, 1137 (9th Cir. 2008) (quoting
County of Sacramento v. Lewis, 523 U.S. 833, 846 (1998)).

       In considering a section 1983 violation based on substantive due process, a court
applies either a “deliberate indifference” standard or a “purpose to harm” standard. Id.
The “deliberate indifference” standard applies only where “actual deliberation [by the
officer] is practical.” Id. (quoting Lewis, 523 U.S. at 851). The “purpose to harm”
standard applies where an officer faces a situation “that escalate[s] so quickly that the
officer must make a snap judgment.” Id.

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       Here, a genuine dispute exists as to which standard should apply. Crediting
Plaintiffs’ version of the incident, as the Court must at the summary judgment stage, the
Court concludes that a rational jury could find that Downey had the luxury of
deliberation. As discussed above, a jury could conclude Herrera posed no threat of
serious harm to Downey or others. Further, Plaintiffs’ evidence shows Downey was
standing over a prone Herrera who was starting to pick himself off the ground to escape
when Downey shot him without warning. Downey could be found at least deliberately
indifferent under these circumstances. Indeed, even if a jury concluded Downey lacked
time to deliberate, it could reasonably conclude he acted with purpose to harm.
Defendants’ qualified immunity defense fails under the “clearly established right” prong
as well for the same reasons it fails for Plaintiffs’ excessive force claim. The Court
denies Defendants’ motion as to Plaintiffs’ substantive due process claim.

D.    Monell

       Plaintiffs assert a claim for “Municipal Liability for Unconstitutional Custom,
Practice, or Policy.” FAC at 1. There is no vicarious liability under § 1983, Monell v.
New York Dep’t. of Social Serv., 436 U.S. 658, 694 (1978), but a local governmental
entity may still be liable under § 1983 if (1) defendant’s employee acted under color of
law; (2) defendant’s employee deprived plaintiffs of a constitutional right; (3)
defendant’s employee acted pursuant to an expressly adopted official policy or
widespread or longstanding practice or custom of the defendant; (4) this policy, practice,
or custom is so closely related to the deprivation of plaintiffs’ rights as to be the moving
force that caused the ultimate injury. See Manual of Model Civil Jury Instructions for the
District Courts of the Ninth Circuit (2007 ed. updated 6/20/17) at Instruction 9.5.
Although the Court finds a triable issue as to the constitutional violation, Plaintiffs have
failed to submit any evidence regarding any City custom, practice, or policy that would
subject it to Monell liability. Indeed, Plaintiffs do not even address this claim in their
opposition. Accordingly, there is no genuine dispute of material fact as to the remaining
elements of Monell liability. The Court grants summary judgment for Plaintiffs’ Monell
claim.

E.    Battery

     Section 1983 has been described as the “federal counterpart of state battery or
wrongful death actions,” and the standard of reasonableness is the same. Yount v. City of
Sacramento, 43 Cal. 4th 885, 902 (2008). For either claim, a plaintiff must prove the

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officer used unreasonable force. Edson v. City of Anaheim, 63 Cal. App. 4th 1269, 1274
(1998) (relying on section 1983 jurisprudence to determine burden of proof in battery
cases). Defendants contend Downey is immune from the state law claims under Penal
Code section 196 and California Government Code section 820.2.

       The same test applies in determining whether a defendant’s conduct is justifiable
under Penal Code section 196, or whether a defendant is immune under California
Government Code section 820.2, namely “whether the circumstances reasonably
create[d] a fear of death or serious bodily harm to the officer or to another.” Martinez v.
County of Los Angeles, 47 Cal. App. 4th 334, 349 (1996) (internal quotation marks
omitted). The Court already determined that there was a genuine dispute of material fact
regarding whether Downey’s use of deadly force was excessive. Thus, the Court rejects
Defendants’ state law immunity argument for the battery claim, as well as the negligence
and Bane Act claims. See Scruggs v. Haynes, 252 Cal. App. 2d 256, 267 (1967) (“[A]
police officer does not have discretionary immunity from liability for the use of
unreasonable force in making an arrest.”). Accordingly, Defendants’ motion for
summary judgment is denied with respect to Plaintiffs’ battery claim. 8

F.     Negligence

       “In order to establish negligence under California law, a plaintiff must establish
four required elements: (1) duty; (2) breach; (3) causation; and (4) damages.” Ileto v.
Glock Inc., 349 F.3d 1191, 1203 (9th Cir. 2003) (citing Martinez v. Pac. Bell, 225 Cal.
App. 3d 1557 (1990)). Police officers “have a duty to use reasonable care in employing
deadly force.” Munoz v. City of Union City, 120 Cal. App. 4th 1077, 1101 (2004),
disapproved on other grounds by Hayes v. Cty. of San Diego, 57 Cal. 4th 622, 629
(2013). Because there is a triable issue as to whether Downey used excessive force, there
is a genuine dispute as to whether Downey breached the duty of care owed to Herrera.
See Young v. Cty. of L.A., 655 F.3d 1156, 1170 (9th Cir. 2011) (The “Fourth
Amendment violation . . . also suffices to establish the breach of a duty of care under
California law.”). The Court denies Defendants’ motion as to Plaintiffs’ negligence
claim.


8
 The City may be vicariously liable under state law for Downey’s purportedly excessive force.
See, e.g., California Government Code § 815.2(a); Blankenhorn v. City of Orange, 485 F.3d
463, 488 (9th Cir.2007). Because the City would be liable for Plaintiffs’ state law claims to the
same extent as Downey, the claims against the City rise and fall with those against Downey.

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G.    Bane Act

       Though the California Supreme Court has not resolved the question of whether a
plaintiff asserting a Bane Act claim based solely on excessive force must present
evidence of threats, intimidation, or coercion distinct from the excessive force claim, the
Ninth Circuit has held that “the elements of [an] excessive force claim under § 52.1 are
the same as under § 1983.” Cameron v. Craig, 713 F.3d 1012, 1022 (9th Cir. 2013).
Because Plaintiffs have raised a triable issue of fact as to whether Downey used excessive
force, Defendants’ motion is denied as to Plaintiffs’ Bane Act claim.

                                   V.    CONCLUSION

    Defendants’ Motion for Summary Judgment is GRANTED IN PART and
DENIED IN PART.9

      IT IS SO ORDERED.




9
  Defendants claim that Plaintiffs have agreed to limit their claims to Downey’s use of deadly
force - his shooting of Ruben Herrera. Notice of Mot. But the e-mails submitted by Defendants
in support do not indicate whether Plaintiffs have so agreed. See Mot., Walsh Decl., Ex. 1.
More importantly, in their opposition, Plaintiffs clearly argue that Downey’s non-lethal force
was also unlawful. Opp.at 1. The Court need not address such conduct because triable issues
exist as to Plaintiffs’ claims based on Downey’s use of deadly force and Defendants provide no
argument as to Downey’s use of non-deadly force.

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